                                                                       Exhibit B

                                                          AP SERVICES, LLC
                                           Summary of Fees and Hours by Professionals and
                       Description of Responsibilities of Professionals – Pacific Gas and Electric Company, et al.
                                      For the Period February 1, 2020 through February 29, 2020

   PROFESSIONAL              APS TITLE                                    RESPONSIBILITIES                                 RATE     HOURS           FEES
James A Mesterharm      Managing Director       Develop and implement financial restructuring strategies; serve as         $1,195       76.4    $     91,298.00
                                                lead AP Services resource on bankruptcy and restructuring issues;
                                                serve as key interface with creditor constituencies and other principal
                                                parties in interest; assist counsel in preparing and providing support
                                                for case motions, including testimony in Bankruptcy Court; provide
                                                transactional guidance, direction, and oversight; direct AP Services
                                                team and management on restructuring workstreams; assist
                                                management and advisors in development and negotiation of Plan of
                                                Reorganization.

John Boken              Managing Director       Develop and implement financial and operational restructuring              $1,195       206.4        246,648.00
                                                strategies; serve as lead AP Services resource and interface with
                                                creditor advisors, creditor constituencies, contract counterparties,
                                                and other principal parties in interest; provide operational guidance,
                                                direction, and oversight; oversee AP Services team and management
                                                in financing, liquidity management, operational improvement,
                                                diligence support, contract assessment, and other key restructuring
                                                workstreams; oversee development of business plan and long-term
                                                forecast; coordinate with counsel on support for case motions,
                                                including testimony in Bankruptcy Court; assist management and
                                                advisors in development and negotiation of Plan of Reorganization.


David R Hindman         Managing Director       Develop and implement operational restructuring and cost reduction         $1,090       204.9        223,341.00
                                                strategies; serve as lead AP Services resource on energy
                                                procurement, contract portfolio, and counterparty management
                                                issues; lead AP Services team and management in identification and
                                                implementation of cost efficiency opportunities across all business
                                                units and support functions; assist in interface, communications, and
                                                diligence support with creditor advisors, creditor constituencies,
                                                contract counterparties, and other principal parties in interest; assist
                                                in development of business plan and long-term forecast,
                                                assumptions, and support.


Robb C McWilliams       Managing Director       Direct case management activities and priorities of working teams          $1,025       158.0        161,950.00
                                                across multiple workstreams and advise on various matters including
                                                the review of invoices for the determination of pre-petition and post-
                                                petition, preparation of Monthly Operating Reports, claims analysis
                                                and reconciliation, claims settlements, assessment of contracts for
                                                assumption or rejection, analysis of restructuring term sheets, and
                                                assistance in addressing Plan of Reorganization issues and input
                                                needs.

Mark J Brown            Managing Director       Direct workstream to build out Disclosure Statement liquidation            $1,025         2.6          2,665.00
                                                analysis in support of Plan of Reorganization process.




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   PROFESSIONAL            APS TITLE                                 RESPONSIBILITIES                                 RATE     HOURS       FEES
Vance L Scott         Managing Director       Lead Strategic Sourcing strategy development across all business        $1,025      120.7     123,717.50
                                              lines and support alignment across LOB, Business Finance, and
                                              Legal stakeholders. Lead implementation of the Strategic Sourcing
                                              plan. Lead Supplier Reset Negotiations workstream for Tier 1 and
                                              Tier 2 Electric Operations, Gas Operations, Power and Nuclear
                                              Generation, Corporate Services, and IT Vendors in connection with
                                              assessment of executory contracts.
Brooke Hopkins        Managing Director       Lead cost reduction initiatives relating to Third Party Risk            $1,025       141.2    144,730.00
                                              Management and Contract Management, including Plan-to-Procure-
                                              to-Pay and Financial Reporting (accruals) process improvements and
                                              risk mitigation, in collaboration and coordination with the CPO,
                                              Business Finance, and Internal Audit. Identify financial control
                                              improvements to help with underlying issues such as AFPOs, BPOs,
                                              invoice lag, new commitments, delegation of authority, and other
                                              process improvement initiatives.


Eva Anderson          Director                Manage and facilitate development of responses to all diligence          $950        183.8    174,610.00
                                              requests submitted by Official Committee advisors and ad hoc
                                              creditor advisors. Support development of presentation materials for
                                              on-site creditor advisor management meetings. Support Company's
                                              real estate team on owned and leased property issues, strategies, and
                                              alternatives.
John Kaplan           Director                Support cost reduction workstreams and drive implementation of           $950        105.9    100,605.00
                                              Integrated Investment Planning and project execution process. Lead
                                              redesign and implementation of 2021 Main Replacement Planning
                                              and project execution process. Assess current Pole Replacement
                                              Planning and project execution processes to develop and implement a
                                              modified framework for 2021 activity. Support migration from
                                              T&E rate structure to unit rates to facilitate RFP process for 2021
                                              activity.

Ken Chan              Director                Support cost reduction workstream activities. Lead overall               $950        192.1    182,495.00
                                              Vegetation Management cost reduction initiatives (wildfire, wood
                                              removal, technology productivity improvement, contract negotiation,
                                              supply strategy). Co-lead Fleet Management cost reduction
                                              initiatives (outsourcing, specs rationalization, process improvement,
                                              demand management). Assist Electric Operations contracting and
                                              process improvement initiatives.

Lisa Perfetti         Director                Work on cost reduction initiatives relating to Third Party Risk          $950        109.2    103,740.00
                                              Management and Contract Management, including Plan-to-Procure-
                                              to-Pay and Financial Reporting (accruals) process improvements and
                                              risk mitigation, in collaboration and coordination with Business
                                              Finance, Contract Management, and Internal Audit. Align with
                                              Company initiatives impacting financial reporting and coordinate
                                              change management across the enterprise for process roll out and
                                              controls integration.
Virgilio E Sosa       Director                Co-lead Strategic Sourcing strategy development across all business      $950        204.1    193,895.00
                                              lines, develop holistic sourcing strategies that align with POR cost
                                              reduction targets in 2020 and following years, seeking opportunities
                                              across Electric Operations, Gas Operations, Power and Nuclear
                                              Generation, and Corporate Services. Support LOB and key
                                              stakeholder engagement on alignment with Strategic Sourcing
                                              initiatives and approach. Support implementation of Strategic
                                              Sourcing plan. Support supplier reset negotiations and cost
                                              reduction validation.




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    PROFESSIONAL              APS TITLE                               RESPONSIBILITIES                                  RATE    HOURS      FEES
Bradley Hunter          Director              Advise on cash management and liquidity forecasting workstreams.           $910       5.9      5,369.00
                                              Assist in refinement of cash forecasting and actuals tracking models.
                                              Participate in periodic meetings with management to review cash
                                              flow trends and address strategic liquidity issues.


Erik Bell               Director              Assist and support cost reduction initiatives in Gas Operations and       $910       120.3    109,473.00
                                              Power Generation, including identification and evaluation of specific
                                              opportunities to reduce expenditures and lower customer energy
                                              rates.
John C Labella          Director              Lead and manage team of PGE, AP Services and temporary staff              $910       147.7    134,407.00
                                              resources in the review of vendor invoices for designation as pre or
                                              post-petition activity. Provide support to PGE accounting group in
                                              preparation of Monthly Operating Reports. Manage claims review
                                              teams performing reconciliations of vendor trade claims against
                                              relevant Company records, assist in resolution of variances, and
                                              support claim settlement process. Assist in development of
                                              Disclosure Statement liquidation analysis in support of Plan of
                                              Reorganization process.
Michael Cardinale       Director              Support efforts to improve the accuracy of month end cost accruals        $910       195.7    178,087.00
                                              and resolution of associated internal audit findings . Support
                                              development and implementation of a refined and standardized cost
                                              accrual process and recommend technological improvements to
                                              further automate and increase accuracy and internal controls relating
                                              to cost accruals.

Denise Lorenzo          Director              Preparation and management of contract assumption and rejection           $910       125.8    114,478.00
                                              schedules to be filed as exhibits to the Plan of Reorganization. Lead
                                              process of reconciliation of contract cure amounts with PGE
                                              resources. Track executed CWAs, COs, and POs through validation
                                              of savings with Sourcing Analysts and Business Finance. Work with
                                              Business Finance leads to resolve issues relating to finance validation
                                              processes, material codes, and processes for tracking actuals to
                                              budget.

Russell L Aebig         Director              Assist in development and management of Performance                       $840        44.0     36,960.00
                                              Management Dashboard, integrating with the Business Finance and
                                              others developing CMOC and related reporting for PG&E
                                              management. Review of data sources and validation of current data
                                              reliability, accuracy, completeness, and scalability across systems
                                              and databases in connection with developing current reports.


Jeffrey W Kopa          Director              Assist in workstream to build out Disclosure Statement liquidation        $840         5.5      4,620.00
                                              analysis in support of Plan of Reorganization process.


Michelle R Repko        Director              Design and manage process for all claims resolution efforts across        $840       154.1    129,444.00
                                              various Company functional teams. Manage and support
                                              comprehensive analysis of non-fire claims population to facilitate
                                              estimation for the Plan of Reorganization and financial reporting
                                              requirements. Support and manage various other case management
                                              efforts, including preparation of contract cure exhibits, cure interest
                                              calculations, and inputs for Plan of Reorganization sources and uses
                                              analysis.




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    PROFESSIONAL                APS TITLE                                 RESPONSIBILITIES                                  RATE    HOURS       FEES
John Galiski              Director                Assist in driving cost reduction initiatives relating to Third Party       $840      143.3     120,372.00
                                                  Risk Management and Contract Management, including Plan-to-
                                                  Procure-to-Pay process improvements and risk mitigation, in
                                                  collaboration and coordination with the CPO, Business Finance, and
                                                  Internal Audit. Identify financial control improvements to help with
                                                  underlying issues such as AFPOs, BPOs, invoice lag, new
                                                  commitments, delegation of authority, and other process
                                                  improvement initiatives.
Brent Robison             Director                Lead cross-functional effort with AP Services team and Company            $840        147.9    124,236.00
                                                  team members in development and implementation of a process to
                                                  resolve over 600 asserted 503b9 claims. Assist Company in
                                                  development of organization-wide process for resolving claims and
                                                  in establishing, implementing, and managing Claims Steering
                                                  Committee governance processes. Assist Company in preforming
                                                  preliminary analysis on existing claim population. Support various
                                                  other case management efforts.

Eric J Powell             Director                Lead effort to identify and pursue cost savings initiatives in            $840        139.2    116,928.00
                                                  Construction Services and Engineering, including assessment of
                                                  external sourcing of labor and non-labor work and internal resource
                                                  optimization. Coordinate interface and collaboration with Electric
                                                  Operations.
Afshin Azarhi             Director                Assist in efforts to automate integration of disparate data sets to       $840        122.0    102,480.00
                                                  support the analysis and certification of month end cost accruals.
                                                  Assist in identification and estimation of cost accruals through
                                                  analysis of raw data extracts. Assist Electric Operations team with
                                                  identification, analysis, and dashboarding of transmission and
                                                  distribution data in preparation for automation and incorporation
                                                  into Company's core systems.
Patryk P Szafranski       Director                Serve as lead of PMO responsible for reporting and tracking               $840        226.2    190,008.00
                                                  progress across all cost savings initiatives. Prepare bi-weekly reports
                                                  for senior PG&E leadership and Board. Assist in interface,
                                                  communications, and diligence support with internal and external
                                                  stakeholders and stakeholder advisors. Serve as lead AP Services
                                                  resource on workforce management issues, including headcount
                                                  optimization, double time, professional fees, insourcing, and
                                                  productivity.
Tripp Fried               Director                Support Electric Operations work planning initiatives, including          $840         38.8     32,592.00
                                                  work readiness and work closeout. Translation of 2020/2021
                                                  workplans into third party spend categories to support Strategic
                                                  Sourcing workstream efforts. Support spend governance efforts via
                                                  the Electric Operations Contract Management Oversight Committee
                                                  (CMOC) and assisting in process of allocations to Electric
                                                  Operations cost centers.
Travis Phelan             Director                Design and manage process for scanning 70,000 contract images to          $800          9.4      7,520.00
                                                  facilitate the identification of contractual interest rate terms to be
                                                  incorporated into interest calculation model for contract cure
                                                  amounts.

Elizabeth Kardos          Director                Assist in the preparation of retention documents, relationship            $710          1.3        923.00
                                                  disclosures reports, and monthly staffing and compensation reports.


Peng Bi                   Senior Vice President   Develop SB247 financial impact model based on quotes from                 $735        197.2    144,942.00
                                                  Vegetation Management contractors. Support contractor
                                                  negotiations. Develop and implement short-term pre-inspection cost
                                                  reduction plan. Coordinate across multi-functional team in
                                                  Vegetation Management to drive sustainable program changes.




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    PROFESSIONAL               APS TITLE                                 RESPONSIBILITIES                                  RATE    HOURS       FEES
Rod G Maclean            Senior Vice President   Provide analytical support to cost reduction workstreams, including        $735      102.0      74,970.00
                                                 analysis of internal labor spend for each LOB.
Kortney Bauer            Senior Vice President   Develop model for calculating claim adjustments resulting from            $735       188.5     138,547.50
                                                 anticipated contract cure payments. Provide oversight and support
                                                 of process for diligence and production of third party claim
                                                 settlement requests initiated by the Company. Support various other
                                                 case management efforts.
Raju Patel               Senior Vice President   Review current utilization and monitor incurred overtime and double       $735         96.4     70,854.00
                                                 time. Support LOBs in establishing operational targets, and
                                                 identifying and implementing process refinements to facilitate
                                                 sustainable change and cost efficiencies in resource management.
                                                 Provide analytical support for periodic performance reviews.
                                                 Develop analytical tool to supporting tracking of incurred double
                                                 time.
Michael C McCreary       Senior Vice President   Support cost reduction workstreams with specific focus on assessing       $690        139.8     96,462.00
                                                 Pole Replacement Planning and project execution processes. Assist
                                                 in developing and implementing modified framework for 2021
                                                 planning and execution. Assist in activities and analyses to support
                                                 migration from T&E rate structure to unit rates to facilitate RFP
                                                 process for 2021 activity.
Yong Zheng               Senior Vice President   Support Supplier Reset Negotiations workstream for Tier 1 Gas             $690       230.6     159,114.00
                                                 Operations validation process. Support Strategic Sourcing strategy
                                                 development across all LOBs to identify cost reduction opportunities
                                                 and action steps. Support implementation of the Strategic Sourcing
                                                 plan. Provide rapid analytical, cost, and planning support for Gas
                                                 Operations categories, initiatives, and RFP strategies.


Jabbar A Ahmad           Senior Vice President   Support Strategic Sourcing strategy development across all LOBs to        $690       113.8      78,522.00
                                                 identify cost reduction opportunities and action steps. Support
                                                 implementation of the Strategic Sourcing plan. Provide rapid
                                                 analytical, cost, and planning support for Corporate Services and
                                                 Power Generation categories, initiatives, and RFP strategies.


Chris Sanchez            Senior Vice President   Support business plan development workstream. Assist in diligence         $645       122.1      78,754.50
                                                 support with internal and external stakeholders. Track executed
                                                 CWAs, COs and POs through validation of savings with Sourcing
                                                 Analysts and Business Finance.

David Purcell            Senior Vice President   Lead cash management and liquidity forecasting workstreams and            $645       158.2     102,039.00
                                                 assist in business plan development workstream. Maintain and
                                                 refine cash forecasting model and analytical tools, track and analyze
                                                 actual results, and develop liquidity reports for internal and external
                                                 parties. Assist Company in five year forecast consolidation and
                                                 scenario modeling.

Jennifer A McConnell     Senior Vice President   Support diligence response workstream with accumulation and               $645        203.0    130,935.00
                                                 preparation of responsive materials for stakeholder diligence
                                                 requests. Coordination with Company, counsel and other
                                                 constituents, tracking of response status, maintenance of response
                                                 database, and development of periodic update reports. Assist in
                                                 development and preparation of materials for periodic stakeholder
                                                 meetings and presentations. Support development of contract cure
                                                 interest calculation model.




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     PROFESSIONAL                APS TITLE                                RESPONSIBILITIES                                RATE    HOURS       FEES
Ceilla Velazquez-Chavez    Senior Vice President   Support cost reduction initiatives relating to Third Party Risk         $645      132.0      85,140.00
                                                   Management and Contract Management, including Plan-to-Procure-
                                                   to-Pay process improvements and risk mitigation, in collaboration
                                                   and coordination with the CPO, Contract Management, Sourcing,
                                                   and Internal Audit. Identify financial control improvements to help
                                                   with underlying issues such as AFPOs, BPOs, invoice lag, new
                                                   commitments, delegation of authority, and other process
                                                   improvement initiatives.
Bryce Pyle                 Senior Vice President   Support business plan development workstream with focus on             $645        127.6     82,302.00
                                                   validation of five year forecast. Assist in diligence support with
                                                   internal and external stakeholders.
Wally Li                   Senior Vice President   Support and maintain the claims and contracts website including        $620         66.2     41,044.00
                                                   user management and system/software/security upgrades and
                                                   patches. Support and resolve user technical issues. Develop and test
                                                   requested changes (such as new functions/modules) and address data
                                                   update, import, export, and archive requests.
Christopher S Atkins       Vice President          Support spend governance workstream with a focus on IT. Assist         $630        183.4    115,542.00
                                                   with cost reduction initiative development and implementation
                                                   through data mining and analysis. Support cost reduction initiatives
                                                   and workstreams relating to headcount and productivity.

Nitesh Neelanshu           Vice President          Support cost reduction workstream with specific focus on analytics     $630        123.7     77,931.00
                                                   and documentation support related to optimization of spend in
                                                   Construction Services and Engineering. Support PMO, steering
                                                   committee, and additional cost reduction initiatives as necessary.


Sid Joshi                  Vice President          Support Supplier Reset Negotiations workstream for Tier 2 Gas          $605        210.7    127,473.50
                                                   Operations validation process. Support Strategic Sourcing strategy
                                                   development across all LOBs to identify cost reduction opportunities
                                                   and action steps. Support implementation of the Strategic Sourcing
                                                   plan. Drive needed rapid sourcing analytics for Corporate Services
                                                   sourcing activities.

Jeremy P Egan              Vice President          Support Supplier Reset Negotiations workstream for Tier 1 Electric     $605        181.1    109,565.50
                                                   Operations validation process. Support Strategic Sourcing strategy
                                                   development across all LOBs to identify cost reduction opportunities
                                                   and actions. Support implementation of the Strategic Sourcing plan.
                                                   Provide rapid analytical, cost, and planning support for Electric
                                                   Operations categories, initiatives, and RFP strategies.


Rohit Gujarathi            Vice President          Support cost reduction initiatives in Vegetation Management            $605        176.1    106,540.50
                                                   workstream with focus on tree trimming and pre-inspection spend.
                                                   Support client with data analysis and documentation for conducting
                                                   negotiations with suppliers.
Drew J Willis              Vice President          Support Supplier Reset Negotiations workstream for Tier 1 Gas          $605        200.2    121,121.00
                                                   Operations validation process. Support Strategic Sourcing strategy
                                                   development across all LOBs to identify cost reduction opportunities
                                                   and action steps. Support implementation of the Strategic Sourcing
                                                   plan. Provide rapid analytical, cost, and planning support for
                                                   Electric Operations and priority Gas Operations categories,
                                                   initiatives, and RFP strategies.


Ryan N Witte               Vice President          Support cost reduction workstream activities within Vegetation         $605        148.9     90,084.50
                                                   Management and Fleet Management. Co-lead support of fleet and
                                                   aviation cost reductions initiatives (outsourcing, specs
                                                   rationalization, process improvement, demand management).




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    PROFESSIONAL                APS TITLE                               RESPONSIBILITIES                                  RATE    HOURS       FEES
Rob Cerff                 Vice President        Support Strategic Sourcing strategy development across all LOBs to         $605      139.2      84,216.00
                                                identify cost reduction opportunities and action steps. Support
                                                implementation of the Strategic Sourcing plan. Provide rapid data
                                                analytical support and insight into work units, POs, buying decision
                                                analytics, work allocation analytics, and contract terms.


Spencer Dorsey            Vice President        Support cash management and vendor management workstreams.                $515        178.0     91,670.00
                                                Prepare daily cash report and provide inputs for weekly cash
                                                forecasting and variance reporting processes. Maintain
                                                disbursements database to support payment tracking and reporting
                                                processes. Support claims management workstream.


Margarita Kucherenko      Vice President        Support claims management workstream with specific focus on               $515        207.5    106,862.50
                                                development and implementation of process for analyzing requests
                                                for settlement agreements related to third party pre-petition claims.
                                                Manage database and prepare periodic reports relating to claims,
                                                contracts, reconciliation status, and pre-petition accounts payable.

Robell G. Wondwosen       Vice President        Support cost reduction workstreams with specific focus on PMO             $515        197.9    101,918.50
                                                process. Provide ad hoc support to business plan and financial
                                                forecast development workstream. Lead effort to provide analytical
                                                bridge between financial forecast and Disclosure Statement
                                                materials. Assist in supporting stakeholder diligence on financial
                                                forecast and assumptions.
Daniella Negron La Rosa   Vice President        Support cost reduction workstream with specific focus on workforce        $515        190.9     98,313.50
                                                strategy, including insourcing, professional fees, headcount, and
                                                AFPOs.
Michelle E Meyer          Vice President        Support Supplier Reset Negotiations workstream for Tier 1 and Tier        $515        200.3    103,154.50
                                                2 Electric Operations, Gas Operations, Power and Nuclear
                                                Generation, Corporate Services, and IT vendors as part of the
                                                assessment of executory contracts and change orders. Assist in
                                                validating contract cure amounts. Support Strategic Sourcing
                                                strategy development across all LOBs to identify cost reduction
                                                opportunities and action steps. Support implementation of the
                                                Strategic Sourcing plan.


Bruce Smathers            Vice President        Support PMO process of tracking and reporting progress across all         $515        166.2     85,593.00
                                                cost reduction initiatives. Support cash management and liquidity
                                                forecasting workstreams.
Katie Glasscock           Vice President        Support claims management workstreams and manage database                 $470        159.7     75,059.00
                                                containing all filed and scheduled claims along with claims
                                                objections. Develop and maintain automated process to facilitate
                                                initial analysis and categorization of filed claims as well as matching
                                                to scheduled claims. Assist Company in preliminary assessment of
                                                existing claims population.

Brian Beilinson           Vice President        Support compliance with accounts payable segregation requirements         $470        170.8     80,276.00
                                                by (1) designing the process and methodology for designating
                                                invoices as pre-petition or post-petition and (2) training and
                                                managing a team of up to 30 billing analysts tasked with reviewing
                                                and classifying all three-way match PO invoices as pre-petition or
                                                post-petition. Managed the Claims Review Team by 1) developing
                                                and delivering the general claims reconciliation training materials, 2)
                                                reviewing templates submitted by the claim reviewers for accuracy,
                                                and 3) managing the claims WIP queue and tracking results.




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    PROFESSIONAL                APS TITLE                                RESPONSIBILITIES                                 RATE    HOURS       FEES
Zachary A Pollack         Vice President         Support compliance with accounts payable segregation requirements         $470      208.2      97,854.00
                                                 with development of SQLite database to analyze daily open invoices.
                                                 Utilize daily SAP reports and the open invoices database to distribute
                                                 daily invoice assignments queue to the Invoice Review Team and
                                                 report on payment blocks and dispositions. Manage contracts
                                                 database and develop model for automated calculation of contract
                                                 cure amounts for all unexpired PO based executory contracts to
                                                 facilitate generation of contract cure exhibits.


Tammy Brewer              Vice President         Assist with the preparation of monthly staffing and compensation         $450          4.0       1,800.00
                                                 reports.
Andrea M LeBar            Associate              Assist with the preparation of monthly staffing and compensation         $375         52.0      19,500.00
                                                 reports.

Amy Liu                   Associate              Support business plan development workstream.                            $250          5.0       1,250.00

Austin Simon              Associate              Support Electric Operations cost reduction tracking, work readiness,     $250        105.3      26,325.00
                                                 and work close-out analyses.

Zachary E Courie          Consultant             Support assessment of executory contracts by managing updates to         $465          3.9       1,813.50
                                                 the contracts webtool and database, researching specific contract
                                                 issues, and preparing ad hoc reports as necessary.

Tim T Kan                 Consultant             Perform analysis and provide support for Supplier Reset                  $465        174.6      81,189.00
                                                 Negotiations workstream relating to Tier 1 and Tier 2 Electric
                                                 Operations, Gas Operations, Power and Nuclear Generation,
                                                 Corporate Services, and IT vendors in connection with assessment of
                                                 executory contracts.
Justin Hyum               Consultant             Support cost reduction workstreams with specific focus on tracking       $420         64.0      26,880.00
                                                 of cost reduction initiatives and results for PMO. Assist in
                                                 validating savings for various cost reduction initiatives.

Barbara J Ferguson        Paraprofessional       Support claims management workstream.                                    $315         16.9       5,323.50
Derrick Q Irving          Paraprofessional       Support claims management workstream.                                    $315          8.0       2,520.00

Total Professional Hours and Fees                                                                                                   8,686.3   6,280,993.50




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